228 F.2d 290
    UNITED STATES of America, Appellee,v.Joseph Obbie SUMPTER, Appellant.
    No. 72.
    Docket 23659.
    United States Court of Appeals Second Circuit.
    Argued December 15, 1955.
    Decided December 20, 1955.
    
      Wellington A. Newcomb, Asst. U. S. Atty., New York, City (Paul W. Williams, U. S. Atty., New York City, on the brief), for appellee.
      Joseph Obbie Sumpter, pro se, appellant.
      Before CLARK, Chief Judge, and MEDINA and WATERMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Appellant's several attempts to secure vacation of his sentence of five years' imprisonment for conspiracy to violate the narcotic laws have presented variations of the same theme, namely, that the attorney of his own choosing and employment did not properly represent him or safeguard his interests at the three-day trial which led to the jury verdict against him. The voluminous record does not bear out this charge. Nevertheless, Judge Weinfeld, the trial judge, granted him a full hearing, at which both he and the attorney testified at length; and then the judge wrote a careful and reasoned opinion denying the motion. United States v. Sumpter, D.C.S.D.N.Y., 111 F.Supp. 507. Thereafter he has patiently considered and decided several applications for a rehearing. Appellant has had much more than an adequate hearing of a claim which is fundamentally without merit.
    
    
      2
      Affirmed.
    
    